Case 6:17-CV-OOO77-ACC-KRS Document 1 Filed 01/17/17 Page 1 of 4 Page|D 1

UNITED sTATEs ms'rRicT coURT 29,7 `M
Mn)l)LE DISTRICT oF FLoRn)A N 17 pH § 37

CivilCasc Number: Q l 2»('_/\/, § I__ W_)LQ?M;W¢ br 1513 ,z_g~;

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Carol l’inkncy.

Plaintiff,
vs.

Santander Consumcr USA, Inc.; and DOES l-
l(), inclusive.

Del`endants.

 

COMPLAINT
For this Complaint, the Plaintiff. Carol Pinkney, by undersigned counsel, states as
l`ollows:
JURISDICTION

l. This action arises out ot`Defendants’ repeated violations of the rI`elophonc
Consumer I’rotection Act, 47 U.S.C. § 22?`, et seq. (“TCPA").

2. Venue is proper in this District pursuant to 28 U.S.C. § 139l(b), in that the
Del`endants transact business in this Dist:rict and a substantial portion ofthe acts giving rise to
this action occurred in this District.

PARTIES

3. Plaintiff._ Carol Pinkney (“Plaintiff"`)_. is an adult individual residing in O\'iedo._
l lorida. and ls a `person" as the term is defined by 4? U. S C.§153(39).

4. 'I`he Defendant, Santander Consumer USA_ Inc. (‘“Santander"). is a Texas

business entity with an address ot`8585 North Stemmons Freeway, Suite l 100 N. Dallas. Texas

®JLC

?5247. and is a “person” as the term is defined by 47 U.S.C. § 153(39).

Case 6:17-CV-OOO77-ACC-KRS Document 1 Filed 01/17/17 Page 2 of 4 Page|D 2

5. Does 1-10 (the “Agents”) are individual agents employed by Santander and
whose identities are currently unknown to the Plaintiff. One or more of the Agents may be

joined as parties once their identities are disclosed through discovery.

6. Santander at all times acted by and through one or more of the Agents.
FACTS
7. Within the last four years, Santander called Plaintiff’s cellular telephone, number

407-XXX-7576 in an attempt to collect a tinancial obligation.

8. At all times mentioned herein, Santander called Plaintiff by using an automatic
telephone dialer system (“ATDS” or “predictive dialer”).

9. Upon answering the calls from Santander Plaintit`f was met with a period of
silence prior to a live agent coming on the line.

10. During a live conversation with Santander, Plaintiff stated that she was not
responsible for payment.

ll. Plaintiff never provided her cellular telephone number to Santander and never
provided her prior express consent for the calls.

12. Despite the foregoing, Santander continued calling Plaintiff`s cellular telephone at
an annoying and harassing rate.

13. Santander’s calls directly interfered with Plaintift’ s right to peacefully enjoy a
service that Plaintiff paid for and caused Plaintiff a significant amount of anxiety, frustration

and annoyance.

Case 6:17-CV-OOO77-ACC-KRS Document 1 Filed 01/17/17 Page 3 of 4 Page|D 3

COUNT l
VIOLATIONS OF THE TCPA 47 U.S.C. § 227, et seg.

14. Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

15. Plaintiff never provided her cellular telephone number to Defendant or the
Creditor and never provided her consent to be contacted on her cellular telephone.

16. Without prior consent Defendant contacted the Plaintiff by means of automatic
telephone calls or prerecorded messages at a cellular telephone in violation of 47 U.S.C. §
227(b)( l)(A)(iii).

l7. Defendants continued to place automated calls to Plaintit`t”s cellular telephone
after knowing there was no consent to continue the calls. As such, each call placed to Plaintiff
was made in knowing and/or willful violation of the TCPA, and subject to treble damages
pursuant to 47 U.S.C. § 227(b)(3)(C).

18. The telephone number called by Defendant was and is assigned to a cellular
telephone for which Plaintiff incurs charges for incoming calls pursuant to 47 U.S.C. §

227(b)( l ).

l9. The calls from Defendant to Plaintiff were not placed for “emergency purposes"
as defined by 47 U.S.C. § 227(b)(l)(A)(i).

20. Plaintiff was annoyed, harassed and inconvenienced by Defendant`s continued
calls.

21. Defendant’s telephone system has the capacity to store numbers in a random and

sequential manner.

Case 6:17-CV-OOO77-ACC-KRS Document 1 Filed 01/17/17 Page 4 of 4 Page|D 4

22. As a result of each call made in negligent violation of the TCPA, Plaintiff is
entitled to an award of $500.00 in statutory damages for each call in violation of the TCPA
pursuant to 47 U.S.C. § 227(b)(3)(B).

23. As a result of each call made in knowing and/or willful violation of the TCPA,
Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 pursuant to 47
U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

PRAYER FOR RELIEF

WHEREFORE, the Plaintiff prays that judgment be entered against the Defendants:

1. Statutory damages of $500.00 for each violation determined to be negligent
pursuant to 47 U.S.C. § 227(b)(3)(B);

2. Treble damages for each violation determined to be willful and/or knowing
pursuant to 47 U.S.C. § 227(b)(3)(C);

3. Such other and further relief as may be just and proper.

TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: January 12, 2017
Respectfu|ly submitted,

By /s/ Stan Michael Maslona
Stan Michael Maslona, Esq.
Lemberg Law, LLC

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